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filed - USDC -MH                  UNITED STATES DISTRICT COURT
2022aUG 30 pm3.*52                 DISTRICT OF NEW HAMPSHIRE

                                                  )
     UNITED STATES OF AMERICA                     )
                                                  )
                V.                                )
                                                 ) No. 22-cr -lOO'Ol'^
     CHARLES CLARK,                               )
                                                  )
                      Defendant                   )
                                                  )

                                            INFORMATION

           The United States Attorney Charges;

                                             COUNT ONE
                               [18 U.S.C. § 1001(a)(2)- False Statements]

                                         Background Information

           I.        The United States Small Business Administration(“SBA”)is an executive-

    branch agency of the United States government that provides support to entrepreneurs and

    small businesses.

           2.        In or around March 2020, the Coronavirus Aid, Relief, and Economic Security

    (“CARES”)Act was enacted to provide emergency financial assistance to the millions of

    Americans suffering adverse economic effects caused by the COVID-19 pandemic. The

    CARES Act established several new temporary programs and expanded existing programs.

    including programs created or administered by the SBA.

           3.        One source of relief provided by the CARES Act was the Economic Injury

    Disaster Loan (“EIDL”) program, an SBA program that provided low-interest financing to

    small businesses, renters, and homeowners in regions affected by declared disasters.
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       4.        'I'he CARES Act authorized the SBA to provide EIDLs to eligible small

businesses experiencing substantial financial disruptions due to the COVlD-19 pandemic. In

addition, the CARES Act authorized the SBA to issue advances to small businesses, known as

Economic Injury Disaster Grants(ElDGs). The advances did not need to be repaid.

       5.        To obtain an EIDL and/or EIDG, a qualifying business was required to apply to

the SBA and provide information about its operations, such as the number of employees and

the entity’s gross business revenues and cost of goods sold in the twelve months prior to

January 31,2020. The amount of the loan, if approved, was determined based, in part, on the

information provided concerning the number of employees, gross revenue, and cost of goods.

       6.        Any funds issued under an EIDl.. or EIDG were issued directly by the SBA.

EIDL funds could be used for payroll expenses, sick leave, production costs, and business

obligations, such as debts, rent, and mortgage payments. EIDL funds could not be used for

construction.

                                           The Offense

       7.        On or around July 15, 2020, in the District of New Hampshire and elsewhere.

the defendant,

                                      CHARLES CLARK.

knowingly and willfully made a materially false, fictitious, and fraudulent statement and

representation in a matter within the Jurisdiction of the SBA, a federal agency within the

executive branch of the United States Government. Specifically, the defendant knowingly and

willfully submitted an EIDL application falsely claiming to be an independent contractor in the

“Hair & Nail Salon” industry to obtain CARES Act funds he was not entitled to receive.

       All in violation ofTitle 18, United States Code, Section 1001(a)(2).



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                                DATED: August 30, 2022

                                JANE E. YOUNG
                                United States Attorney


                                /s/ Alexander S. Chen
                                Alexander S. Chen
                                Special Assistant United States Attorney




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